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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                         CASE NO:
THOMAS ESTRELLA,

       Plaintiff,
vs.

ALLIANCEONE RECEIVALBLES
MANAGEMENT, INC.,

      Defendant.
___________________________________/
________________________________________

                        IN THE THIRTEENTH JUDICIAL CIRCUIT
                    IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                   CIVIL DIVISION

THOMAS ESTRELLA,

       Plaintiff,                                  CASE NO: 14-CA-12484
                                                   DIVISION “H”
vs.

ALLIANCEONE RECEIVABLES
MANAGEMENT, INC.,

      Defendant.
________________________________/

                        NOTICE AND PETITION FOR REMOVAL

       TO:     The Honorable Judges of the United States District Court for the Middle District

of Florida.

       COMES        NOW,   Defendants    and    Petitioners   for   removal,   ALLIANCEONE

RECEIVABLES MANAGEMENT INC. (“Defendant”), and with reservation of all rights,

hereby removes from the Circuit Court of the Thirteenth Judicial Circuit in and for Hillsborough

County, Florida, the proceeding entitled and captioned:, Thomas Estrella vs. AllianceOne
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Receivables Management Inc. Case Number 14-CA-12484, Division H on the basis of federal

question jurisdiction.

       The Petition is based on the following grounds:

       1. Defendants/Petitioners, have been named as Defendants in a civil action brought

           against them in the Circuit Court of the Thirteenth Judicial Circuit in and for

           Hillsborough County, Florida, captioned as: Thomas Estrella vs. Alliance One

           Receivables Management Inc. Case Number 14-CA-12484, Division H. A copy of

           the Complaint filed in that action, in addition to all process and pleadings served upon

           or received by Defendants/Petitioners, are attached hereto as Composite Exhibit “A”.

       2. The aforesaid action was originally commenced by service of process on or about

           December 23, 2014 upon the Defendant/Petitioner AllianceOne Receivables

           Management Inc. Thereafter, Plaintiff filed a Motion to Amend the Complaint which

           was granted on or about March 5, 2015. Plaintiff filed his Amended Complaint on or

           about March 5, 2014 which included inter alia a count for alleged violations under

           federal statute.

       3. The controversy herein between the Plaintiff and Defendants/Petitioners is now a

           controversy based upon consumer protection right created by and enforced through

           Federal statute, 47 U.S.C. § 227, entitled the Telephone Consumer Protection Act.

       4. The above-described action is a civil action over which this Court has original

           jurisdiction under the provisions of 28 U.S.C. § 1331, and is one that may be removed

           to this Court by the Defendants/Petitioners pursuant to the provisions of 28 U.S.C. §

           1441(a), in that it is a civil action based upon a federal question over which this Court

           has original jurisdiction.
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       5. This Petition for Removal is filed with this Court within thirty (30) days after filing of

           the Amended Complaint by Defendants/Petitioners and is, therefore, timely pursuant

           to 28 U.S.C. § 1446 (b).

       WHEREFORE Defendants respectfully request that the above entitled action be removed

from the Circuit Court of the Thirteenth Judicial Circuit in and for Hillsborough County, Florida,

to the United States District Court for the Middle District of Florida for all further proceedings.



                                              Respectfully submitted by:

                                               /s/ Sangeeta Spengler
                                              Sangeeta Spengler, Esq.
                                              Florida Bar No.: 0186864
                                              GOLDEN SCAZ GAGAIN, PLLC
                                              201 North Armenia Avenue
                                              Tampa, Florida 33609
                                              spspengler@gsgfirm.com
                                              Counsel for Defendant


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the forgoing has been furnished via electronic mail to Lisa

Wilcox, Esq. at lisa@wilcoxlawpa.com; W. John Gadd, Esq. at wjg@mazgadd.com and

nikki@mazgadd.com on this 25th day of March 2015.

                                              /s/ Sangeeta Spengler
                                              Sangeeta Spengler
                                              Florida Bar No.: 0186864
